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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                          10/14/2020
 Jocelyn R. Taylor,

                                  Plaintiff,
                                                             1:18-cv-10379 (LTS) (SDA)
                      -against-
                                                             ORDER
 Bowmo, Inc. et al.,

                                  Defendants.


STEWART D. AARON, United States Magistrate Judge:

       Following a telephone conference today, during which only Plaintiff appeared, it is hereby

Ordered as follows:

       1. No later than October 21, 2020, Plaintiff shall file a letter, in accordance with Judge

           Swain’s Individual Rules of Practice, regarding Plaintiff’s desire to seek a default

           judgment against Defendant Kupferman based upon his failure to attend the two

           Court conferences after he consented to his counsel’s withdrawal.

       2. A copy of this Order will be mailed to Defendant Kupferman by Chambers at the

           address indicated on the docket, as well as to the following two alternate addresses

           provided by Plaintiff’s counsel during today’s conference: (a) 408 E 79th Street At 14B,

           New York, NY 10075; and (b) 188 E 78th Street Apt 30A, New York, NY 10075. In

           addition, Plaintiff’s counsel shall call Defendant Kupferman at the telephone number

           she previously has used to communicate with him and read the Court’s Order to him.

           If Defendant Kupferman does not answer, Plaintiff’s counsel shall read the text of the

           Order to any voice messaging system.
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SO ORDERED.

DATED:        New York, New York
              October 14, 2020

                                         ______________________________
                                         STEWART D. AARON
                                         United States Magistrate Judge




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